           Case 2:21-cv-00606-APG-DJA Document 28 Filed 11/19/21 Page 1 of 2




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10
                       UNITED STATES DISTRICT COURT
11                          DISTRICT OF NEVADA
12
13   John G. Burnett Sr.,                          Case No.: 2:21-cv-00606-APG-DJA

14
                     Plaintiff,                    Stipulation of dismissal of Equifax
15    v.                                           Information Services LLC with
16                                                 prejudice

17   Equifax Information Services LLC;
18   Experian Information Solutions, Inc.;
     Everglades College Inc.,
19
20
                     Defendant.
21
22         Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, John G.
23   Burnett Sr. and Equifax Information Services LLC stipulate to dismiss Plaintiff's
24   claims against Equifax Information Services LLC with prejudice.
25
26
27
     _____________________
     Stipulation                             -1-
          Case 2:21-cv-00606-APG-DJA Document 28 Filed 11/19/21 Page 2 of 2




1          Each party will bear its own costs, disbursements, and attorney fees.
2          Dated: November 18, 2021.
3
4    Freedom Law Firm

5     /s/ George Haines           .
6    George Haines, Esq.
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     Counsel for Plaintiff John G. Burnett Sr.
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10   Clark Hill PLLC
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     /s/ Jeremy Thompson           .
12   Jeremy Thompson, Esq.
     3800 Howard Hughes Parkway, Suite 500
13
     Las Vegas, Nevada 89169
14   Counsel for Equifax Information Services LLC
15
                                            IT IS SO ORDERED:
16
17                                          _______________________________
18                                          UNITES STATES DISTRICT JUDGE
19
                                                     November 19, 2021
                                            DATED:________________________
20
21
22
23
24
25
26
27
     _____________________
     Stipulation                             -2-
